                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )      NO. 3:12-00112
                                                    )      JUDGE CAMPBELL
CARLOS CAEZ-ROSA and                                )
RUBEN GONZALEZ FABIAN                               )

                                            ORDER

        Pending before the Court is Defendant Carlos Caez Rosa’s Motion to Continue Trial (Docket

No. 35) and Defendant Carlos Caez Rosa’s Motion to Strike Motion to Continue Trial (Docket No.

36).

        The Motion to Strike (Docket No. 36) is GRANTED and the Motion to Continue Trial

(Docket No. 35) is moot.

        The change of plea hearing and/or pretrial conference remains scheduled for February 15,

2013, at 1:00 p.m.

        It is so ORDERED.

                                                    ____________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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